Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 1 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 2 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 3 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 4 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 5 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 6 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 7 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 8 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 9 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 10 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 11 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 12 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 13 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 14 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 15 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 16 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 17 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 18 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 19 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 20 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 21 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 22 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 23 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 24 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 25 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 26 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 27 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 28 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 29 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 30 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 31 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 32 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 33 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 34 of 35
Case:17-03283-LTS Doc#:22830-1 Filed:11/07/22 Entered:11/09/22 10:35:04   Desc:
                           Exhibit Page 35 of 35
